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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG                           MDL NO. 2179
“DEEPWATER HORIZON” in the
GULF OF MEXICO, on APRIL 20, 2010                         CIVIL ACTION NO. 2:10-MD-02179

                                                          SECTION: J

THIS DOCUMENT RELATES TO:                                 JUDGE BARBIER
ALL ACTIONS                                               MAG. JUDGE SHUSHAN



                                                  ORDER

         IT IS HERBY ORDERED that Malcolm Coco’s Second Ex Parte Motion for Leave to

File Supplemental Memorandum in Opposition to Nalco Company’s Motion for Summary

Judgment is granted.

         The Clerk of Court is ordered to file the memorandum and exhibits attached to Plaintiff’s

motion into the record in the captioned case.

         New Orleans, Louisiana this _____ day of August, 2012

                                                _______________________________
                                                UNITED STATES DISTRICT JUDGE




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